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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, JOHN DOE, JANE DOE 1, JANE
  DOE 2, and JANE DOE 3,


                         Plaintiffs,
  v.


  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD               Civil Action No. 3:17-cv-00072-NKM
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,


                         Defendants.


               [PROPOSED] ORDER FOR THE PRODUCTION OF DOCUMENTS
                   AND EXCHANGE OF CONFIDENTIAL INFORMATION
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          With the Parties, by and among their respective counsel, having stipulated and agreed to

   the terms set forth herein, and good cause having been shown,

          IT IS hereby ORDERED as follows:

   1)     Scope of Order – This Stipulation is being entered into to facilitate the production,

   exchange and discovery of documents and information that the parties agree merit confidential

   treatment (hereinafter the “Discovery”).

   2)     Designation of Discovery – Either party may designate Discovery, whether written,

   documentary, or testamentary, in connection with this action as “confidential” or “highly

   confidential” either by notation on the document, statement on the record of the deposition,

   written advice to the respective undersigned counsel for the parties hereto, or by other

   appropriate means.

   3)     Definitions – As used herein:

          a)      “Confidential Information” shall mean all Discovery, and all information

                  contained therein, designated as confidential. A Producing Party may designate as

                  Confidential any information that the Producing Party, in good faith, believes

                  should be protected from public disclosure.

          b)      “Highly Confidential Information” shall mean all Discovery, and all information

                  contained therein, designated as highly confidential. A Producing Party may

                  designate as Highly Confidential any information including, but not limited to,

                  personal information such as Social Security numbers, home addresses, telephone

                  numbers, tax returns, non-party surnames and medical, investment, credit and

                  banking information of any person, that the Producing Party, in good faith,




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                  believes should be protected from disclosure to those not permitted to receive

                  Highly Confidential Information.

          c)      “Producing Party” shall mean the parties to this action and any third parties

                  producing Confidential or Highly Confidential Information, or the party asserting

                  the confidentiality privilege, as the case may be.

          d)      “Receiving Party” shall mean the party to this action and/or any non-party

                  receiving Confidential or Highly Confidential Information.

   4)     Disclosure Prohibited – Except with the prior written consent of the Producing Party or

   by Order of the Court, Confidential Information shall not be furnished, shown or disclosed to any

   person or entity except to:

          a)      Parties and personnel of the Parties actually engaged in assisting in the

                  preparation of this action for trial or other proceeding herein who have been

                  advised of their obligations hereunder and have first executed the undertaking

                  contained in Exhibit A to this Stipulation;

          b)      counsel for the Parties to this action and their associated attorneys, paralegals and

                  other professional personnel (including support staff) who are directly assisting

                  such counsel in the preparation of this action for trial or other proceeding herein,

                  are under the supervision or control of such counsel, and who have been advised

                  by such counsel of their obligations hereunder;

          c)      expert witnesses or consultants retained by the parties or their counsel to furnish

                  technical or expert services in connection with this action or to give testimony

                  with respect to the subject matter of this action at the trial of this action or other

                  proceeding herein, and who have been advised by counsel of their obligations




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                   hereunder and have first executed the undertaking contained in Exhibit A to this

                   Stipulation;

           d)      trial or deposition witnesses;

           e)      stenographers and videographers used at a deposition and who have been advised

                   by counsel of their obligations hereunder;

           f)      the Court and Court personnel; and

           g)      any other person agreed to in writing by the Parties.

   5)      Treatment of Highly Confidential Information – Except with the prior written consent of

   the Producing Party or by Order of the Court, Highly Confidential Information shall not be

   furnished, shown or disclosed to any person or entity except to those identified in sub-paragraphs

   4(b), (c), (e), (f), and (g), as well as to trial or deposition witnesses if that witness sent, received,

   authored, or viewed the document or information outside the context of this litigation. For the

   avoidance of doubt, any person or entity identified in sub-paragraphs 4(c), 4(e), and 4(g)

   receiving Highly Confidential Information shall first execute the undertaking contained in

   Exhibit A to this Stipulation.

   6)      Retention of Confidentiality Agreements – Outside counsel for the Party that obtains the

   signed undertaking contained in Exhibit A shall retain them for six (6) months following the final

   termination of this litigation, including any appeals, and shall make them available to other

   Parties upon good cause shown.

   7)      Storage of Confidential Information – Each Receiving Party shall use due care with

   respect to the storage, custody, use, and/or dissemination of Confidential or Highly Confidential

   Information. A person with custody of documents designed Confidential or Highly Confidential




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   shall maintain them in a manner that limits access to those persons entitled under this Stipulation

   to examine the documents so designated.

   8)     Filing Under Seal – Any Party wishing to file Confidential or Highly Confidential

   Information with the Court shall, wherever possible, alert the Producing Party to the specific

   documents or information they wish to file sufficiently in advance of the filing to permit the

   Producing Party to file a motion to seal in accordance with the Court’s Local Rules, Title I, Rule

   9 (“Local Rule 9”). Upon being informed that the Producing Party will file such a motion, the

   filing party shall file the relevant documents and information under seal. Where such advance

   notice is not possible, the filing party will file any Confidential or Highly Confidential

   Information under seal and will also file a motion to seal in accordance with Local Rule 9

   requesting that the document be held under seal until such time as the Producing Party can file a

   motion to seal, which the Producing Party shall do within seven days.

   9)     Limitations on Use – Confidential and Highly Confidential Information shall be utilized

   by the Receiving Party and its counsel only for purposes of this action, including any appeals,

   and for no other purposes.

   10)    Presumption of Confidentiality – All testimony shall presumptively be treated as

   Confidential Information and subject to this Stipulation during the testimony and for a period of

   thirty (30) days after a transcript of said testimony is received by counsel for each of the parties.

   At or before the end of such thirty day period, the testimony shall be classified appropriately.

   11)    Restrictions of Use of Confidential Information – Any person receiving Confidential or

   Highly Confidential Information shall not reveal or discuss such information to or with any

   person not entitled to receive such information under the terms hereof.




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   12)     Inadvertent Misdesignation – Any document or information that may contain

   Confidential or Highly Confidential Information that has been inadvertently produced without

   identification as to its confidential nature may be so designated by the party asserting the

   confidentiality privilege by written notice to the undersigned counsel for the Receiving Party

   identifying the document or information as confidential or highly confidential within a

   reasonable time following the discovery that the document or information has been produced

   without such designation.

   13)    Extracts and Summaries – Extracts and summaries of Confidential or Highly Confidential

   Information shall also be treated as confidential or highly confidential in accordance with the

   provisions of this Stipulation.

   14)    No Waiver of Confidentiality – The production or disclosure of Confidential or Highly

   Confidential Information shall in no way constitute a waiver of each party’s right to object to the

   production or disclosure of other information in this action or in any other action.

   15)    Duration – The provisions of this Stipulation shall, absent prior written consent of both

   parties, continue to be binding after the conclusion of this action.

   16)    No Waiver of Privilege – Nothing herein shall be deemed to waive any privilege

   recognized by law, or shall be deemed an admission as to the admissibility in evidence of any

   facts or documents revealed in the course of disclosure. In the event of an inadvertent disclosure

   of allegedly privileged information, the Producing Party may provide notice in writing to the

   Receiving Party or Parties advising of the inadvertent disclosure, requesting return of the

   allegedly privileged information, and asserting the basis of the clawback request. Upon such

   notice, the Receiving Party or Parties shall make no further use of the allegedly privileged

   information, shall immediately segregate the information in a manner that will prevent any




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   further disclosure or dissemination, and shall take reasonable steps to retrieve the information to

   the extent it was disclosed or disseminated prior to receipt of the notice. Within ten (10) calendar

   days of receiving the notice of inadvertent disclosure, the Receiving Party shall return all

   allegedly privileged information in its possession, custody, or control, or shall provide written

   confirmation that such information has been deleted. Within twenty (20) days of providing the

   notice of inadvertent disclosure, or as otherwise agreed, the Producing Party shall provide the

   Receiving Party or parties with a privilege log identifying the allegedly privileged information

   that was inadvertently disclosed and the asserted grounds for privilege, as required by the Federal

   Rules of Civil Procedure and applicable court rules.

   17)    Subpoenas in Other Actions – In the event a Receiving Party having possession, custody,

   or control of any Confidential or Highly Confidential Information produced in this action

   received a subpoena or other process or order to produce such information, such subpoenaed

   person or entity shall promptly notify by e-mail the attorneys of record of the Producing Party

   and shall furnish those attorneys with a copy of said subpoena or other process or order. The

   Receiving Party shall not produce the requested Confidential or Highly Confidential Information

   unless and until a court of competent jurisdiction so directs, except if the Producing Party (a)

   consents, or (b) fails to file a motion to quash or fails to notify the Receiving Party in writing of

   its intention to contest the production of the Confidential or Highly Confidential Information

   prior to the date designated for production of the subpoenaed information, in which event the

   Receiving Party may produce on the designated production date, but no earlier. The purpose of

   requiring the Receiving Party to wait until the designated production date for producing the

   Confidential or Highly Confidential Information is to afford the Producing Party an opportunity

   to protect its confidentiality interest in the matter or proceeding in connection with which the




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   discovery request, subpoena, or order is issued. The Producing Party asserting the confidential

   treatment shall have the burden of defending against such subpoena, process, or order. The

   person or Party receiving the subpoena or other process or order shall be entitled to comply with

   it except to the extent the Producing Party asserting the confidential treatment is successful in

   obtaining an order modifying or quashing it.

   18)    Return or Destruction of Confidential Information – Within sixty (60) days after the final

   termination of this action by settlement or exhaustion of all motions or appeals, all Confidential

   or Highly Confidential Information produced or designated and all reproductions thereof, shall be

   returned to the Producing Party or shall be destroyed, at the option of the Producing Party. In the

   event that any party chooses to destroy physical objects and documents, such party shall certify

   in writing within sixty (60) days of the final termination of this litigation that it has undertaken its

   best efforts to destroy such physical objects and documents, and that such physical objects and

   documents have been destroyed to the best of its knowledge. Notwithstanding anything to the

   contrary, counsel of record for the parties may retain one copy of documents constituting work

   product, a copy of pleadings, motion papers, discovery responses, deposition transcripts and

   deposition and trial exhibits, except that internal counsel and internal staff shall not retain any

   copies or summaries of Highly Confidential Information. This stipulation shall not be interpreted

   in a manner that would violate any applicable canons of ethics or codes of professional

   responsibility. Nothing in this stipulation shall prohibit or interfere with the ability of counsel for

   any party, or of experts specially retained for this case, to represent any individual, corporation,

   or other entity adverse to any party or its affiliate(s) in connection with any other matters.

   19)    Modification – This Stipulation may be changed by further order of the Court, and is

   without prejudice to the rights of a party to move for relief from, or modification of, any of its




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   provisions, or to seek or agree to different or additional protection for any particular material or

   information.

   20)      Headings – The headings herein are provided only for the convenience of the Parties, and

   are not intended to define or limit the scope of the express terms of this Stipulation.



   Dated:



   SO ORDERED



                                                              Hon. Joel C. Hoppe, M.J.




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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, JOHN DOE, JANE DOE 1, JANE
 DOE 2, and JANE DOE 3,

                              Plaintiffs,
 v.

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD
 AMERICA, ANDREW ANGLIN,                         Civil Action No. 3:17-cv-00072-NKM
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSELY,
 IDENTITY EVROPA, MATTHEW                          EXHIBIT A: AGREEMENT TO
 HEIMBACH, MATTHEW PARROTT a/k/a                    RESPECT CONFIDENTIAL
 DAVID MATTHEW PARROTT,                                 INFORMATION
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,

                              Defendants.

 I, _________________ , state that:

        1.     My address is _____________________________________________________.

        2.     My present employer is ______________________________________________.

        3.     My present occupation or job description is ______________________________.
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         4.     I have received a copy of the Stipulation and Order for the Production and

 Exchange of Confidential Information (the “Order”) entered in the above-entitled Action on

 ______________.

         5.     I have carefully read and understand the provisions of the Order.

         6.     I will comply with all of the provisions of the Order.

         7.     I will hold in confidence, will not disclose to any one not qualified under the

 Order, and will use only for purposes of this litigation, any CONFIDENTIAL INFORMATION

 or HIGHLY CONFIDENTIAL INFORMATION that is disclosed to me.

         8.     Within sixty (60) days after conclusion of this litigation, or as otherwise agreed, I

 will return all CONFIDENTIAL INFORMATION or HIGHLY CONFIDENTIAL

 INFORMATION that comes into my possession, and documents or things that I have prepared

 relating thereto, to counsel for the Party by whom I am employed or retained, or to counsel from

 whom I received the CONFIDENTIAL INFORMATION or HIGHLY CONFIDENTIAL

 INFORMATION.

         9.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of

 the Order in this Action.



 Signature:

 Date:




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